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Exhibit 1
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS
MDL Docket No. 1629
Master File No. 04-10981
KEKE KK KKK KKK KKK KKK KKK KKK KKK KKK KKKAKKHK
IN RE: NEURONTIN MARKETING, SALES
PRACTICES AND PRODUCTS
LIABILITY LITIGATION
FRI OR OK IORI IO RO OR OR IR ORR II I ok ok
THIS DOCUMENT RELATES TO:
RONALD J. BULGER, SR., as Administrator
of the Estate of Susan Bulger, Deceased
KEKE KKK KKK KKK KKK KE KKK KEK KKK KEKE KKK KE KKK
CONTAINS CONFIDENTIAL INFORMATION
VIDEOTAPED DEPOSITION OF
DINO A. CROGNALE, MD

Held At:
Hare & Chaffin
160 Federal Street
Boston, Massachusetts 02110

March 25th, 2008
10:24 AM

Reported By: Maureen O'Connor Pollard, RPR, CLR

Videographer: Shawn Budd

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Page 14 Page 16
1 A. No. 1 A. Not currently.
2 Q. Courses or conferences on chronic 2 Q. The Journal of the American Medical
3 pain? 3 Association?
4 A. Yes. 4 A. No.
5 Q. Do you have a recollection, when did 5 Q. Any other journals?
6 that occur, or can you describe it, please? 6 A. The Journal of -- I'm sorry, not
7 A. I can -- it was at a Prime Ed 7 journal. The American Family Physician. :
8 conference here in Boston, I don't know which 8 Q. Is that true throughout this decade?
9 year, it was not this past one but one within 9 A. Yes.
10 the recent past, and it was lecture on low back 10 Q. Does your office subscribe to any
11 pain, management of low back pain. 11 psychiatry or neurology journals?
12 Q. Lower back pain? 12 A. No.
13 A. Yes. 13 Q. What textbooks, if any, do you
14 Q. Any discussion of any drug therapy? 14. typically rely on?
15 A. Yeah, there was. 15 A. Primarily Harrison's Internal
16 Q. Any discussion of Neurontin? 16 Medicine.
17 A. I can't remember the specifics of what 17 Q. Do you subscribe to the PDR?
18 drugs. 18 A. Yes.
19 Q. No recollection of any discussion of 19 Q. Personally, or the office?
20 any particular drug? 20 A. The office.
21 A. The only thing I can remember is 21 Q. And do you review it when it comes out
22 talking about over the counter medications like 22 for drugs you prescribe? :
23 Ibuprofen. 23 A. Ireview, I review drugs as they come :
24 Q. About what? I'm sorry. 24 up.
Page 15 Page 17
1 A. Ibuprofen. I Q. And what do you mean by "as they come
2 Q. Ibuprofen. 2 up"?
3 Have you ever been to any courses, 3 A. So if there are drugs that have a new
4 seminars involving Neurontin, or at which 4 indication or a new warning, then I'll review
5 Neurontin was discussed? 5 those at that time. But I don't certainly read :
6 (Off the record discussion.) 6 the PDR from cover to cover.
7 MR. CHAFFIN: We lost you for a few. 7 Q. Each year?
8 MR. FINKELSTEIN: It's okay. You can 8 A. Each year.
9 goon. [heard most of it. 9 Q. It's a big book.
10 A. Can you restate that question? 10 Do you refer to it before you
1] BY MR. CHAFFIN: 11 prescribe a new drug that you haven't prescribed
12 Q. Sure. 12 before?
13 Did you ever attend any 13 A. Yes. :
14 courses/seminars at which Neurontin was 14 Q. Do you refer to it annually for drugs
15 discussed that you can recall? 15 you prescribe on a regularly basis?
16 A. I can't recall any specifically where 16 A. No.
17 Neurontin was the focus. It may have been 17 Q. No.
18 mentioned in passing. 18 Do you consult with other physicians
19 Q. Okay. Are you a member of any medical 19 concerning drugs, about their risks and
20 societies or associations? 20 benefits?
21 A. No, I'm not. 21 A. Yes.
22 Q. Do you subscribe, or does your office 22 Q. And who are they? What physicians?
23 subscribe to the New England Journal of 23 A. Primarily my colleagues at the
24 Medicine? 24 practice. And occasionally if it's a specialty /

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5 (Pages 14 to 17)

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Page 34 Page 36
1 Oxycodone plus acetaminophen. 1 Q. It's a tough question.
2 Q. Got it. 2 MR. BELLO: Double negatives.
3 These pain medications and some of the 3 A. Double negatives.
4 others you mentioned before, the SSRIs and the 4 BY MR. CHAFFIN:
5 anti-seizure medications, some of them list 5 Q. Two negatives, that's right.
6 serious potential risks on the label, right? 6 Well, in the situations where -- the
7 A. Mm-hmm. 7 not sometimes where they don't improve the :
8 MR. BELLO: You just have to say yes. 8 condition, what do you do? :
9 A. Yes. 9 A. We -- I would sit down with the
10 BY MR. CHAFFIN: 10 patient and we would try to figure out what part
1 Q. Have you had an overall positive 11 of the medication was, or the prescription was
12 experience prescribing these medications? 12 not helping them, what it was that was not
13 MR. BELLO: Objection. 13 helping, and then we would either withdraw,
14 MR. FINKELSTEIN: Note my objection. 14 change or add medication. :
15 MR. BELLO: My objection as well. 15 Q. And when you prescribe one of these
16 You may answer. 16 narcotics, pain relievers or the anti-seizure
17 A. Can you clarify that? 17 medications, do you try to stay apprised, on top
18 BY MR. CHAFFIN: 18 of your patient's condition when they're first
19 Q. Sure. 19 going on them?
20 Well, you've prescribed these 20 A. Yes.
21 medications, and continue to do so, right? 21 Q. And do you advise your patients that
22 A. Correct. 22 they need to keep you informed of their
23 Q. Fair to say that that's been -- you've 23 condition and their reaction to the drugs?
24 found them beneficial for your patients? 24 A. Yes.
Page 35 Page 37
1 MR. BELLO: Objection. 1 Q. Do you use informed consent forms?
2 MR. FINKELSTEIN: Note my objection. 2 A. Not generally for all prescribing.
3 MR. BELLO: You may answer. 3 Q. When you -- do you have a regular
4 A. Can you clarify it further? Sorry. 4 practice with your patients when you're
5 BY MR. CHAFFIN: 5 prescribing them a new prescription drug with
6 Q. Well, let me ask, maybe this is 6 side effects of discussing with them all of the
7 easier, why do you prescribe these anti-seizure 7 potential side effects that are listed in the
8 medicines, pain medicines, etcetera, for your 8 PDR, for example? :
9 patients? 9 MR. BELLO: Objection.
10 A. To improve their quality of life. 10 You may answer. :
11 Q. And do they? 11 A. I-- my practice is to pick a handful
12 MR. BELLO: Objection. 12 of the most common side effects that are listed :
13 ‘You may answer. 13 inthe PDR, or ones that are specifically
14 A. Sometimes. 14 relevant to them.
15 BY MR. CHAFFIN: 15 BY MR. CHAFFIN:
16 Q. Sometimes. Sometimes not? 16 Q. Okay. And you discuss those with the
17 A. Sometimes not. 17 patient?
18 Q. And more often than not, do they not 18 A. Yes.
19 improve their condition? 19 Q. But not all the side effects or risks
20 MR. BELLO: Objection. 20 that are listed?
21 You may answer. 21 A. No.
22 A. Can you clarify what you mean by 22 Q. And why is that, that you deal with
23 "condition"? 23 just a handful? :
24 BY MR. CHAFFIN: 24 A. Primarily because what we know about

 

   

 

 

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10 (Pages 34 to 37)

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Page 66 Page 68
1 MR. BELLO: Do you have one? 1 general practice in how you prepared these visit
2 MR. CHAFFIN: Ido. Sure. Here you 2 notes?
3 go (handing). 3 A. How they were prepared?
4 MR. BELLO: Thanks. 4 Q. Yes.
5 BY MR. CHAFFIN: 5 A. I'msorry.
6 Q. And you know what numbers I'm looking 6 Q. How these came to be generated. Did
7 at, the upper right-hand side, Doctor? 7 you dictate them? Did you sit at a computer?
8 A. Yes, Ido, yes. 8 A. Oh, yes, yes. So during the patient
9 Q. Okay. If you look at 57 and 58, 9 visit I would take notes, and from those notes I
10 you'll notice on the bottom of 58 Dr. Mengel is 10 would dictate, and then they're transcribed
11 shown as the cosignatory on the prescription? 11 within our office.
12 A. I see that. 12 Q. You had office personnel who would
13 Q. Allright. And on 57 you signed a 13 transcribe from the dictation?
14 visit note. 14 A. Correct.
15 Would that appear that you began 15 Q. And would you -- did you have a
16 treating -- 16 regular practice with respect to how long after
17 A. It would appear that way, yes. 17 a visit you would dictate the notes?
18 Q. And what would be the date when you 18 A. As soon as could be. Yeah, not at --
19 began treating her, based on this record? 19 it was usually within the day or two.
20 A. Based on this record, it looks like 20 Q. Okay. And what type of information
21 9/8/2000. 21 did you take down when you were making notes and
22 Q. 9/8/2000? 22 then dictating those notes, general practice?
23 A. Yes. 23 A. My general practice is to find out
24 Q. Based on this record, for what were 24 from the patient how they feel that they're
Page 67
1 you treating her? 1 doing, find out objective measures of how they
2 A. Based on this record, it was 2 are doing, find out about any side effects they
3 rheumatoid arthritis and chronic pain. 3 may be having from treatment, any benefits they
4 Q. And what was the source of the chronic 4 are getting from treatment, discuss what the
3 pain? 5 other possibilities are if they're not getting
6 A. Her rheumatoid arthritis. 6 the benefits that they're hoping for.
7 Q. For how long did you treat her, if you 7 Q. Now, you reviewed these records in
8 know? 8 preparation for the deposition today, right?
9 A. From this point to 2003 when she left 9 A. Yes.
10 our practice. 10 Q. This record that we're looking at on
11 Q. Did you treat her for the rheumatoid 11 Page 56 of Exhibit 1 is from September of 2000?
12 arthritis and the chronic pain for that entire 12 A. Correct.
13 three-year period? 13 Q. And Mrs. Bulger was on OxyContin at
14 A. Yes. 14 the time?
15 Q. It never resolved? 15 A. Correct.
16 A. No. 16 Q. And was this -- can you quantify
17 Q. Any other conditions, if you can 17 whether this is a heavy dosage of OxyContin or
18 recall offhand without looking at the record, 18 low dosage?
19 for which you treated her? 19 MR. FINKELSTEIN: Objection to form.
20 A. Depression. 20 A. No, I can't, because each individual
21 Q. I'm sorry? Depression? 21 responds differently.
22 A. Depression, anxiety. 22 BY MR. CHAFFIN:
23 Q. Anxiety. 23 Q. And for what was she on the OxyContin,
24 And can you tell me, what was your 24 what condition?

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18 (Pages 66 to 69)

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Page 154 Page 156 |
1 prescription, correct. 1 May 19th of '03?
2 Q. If she refilled both times? 2 A. Correct.
3 A. Yes. 3 Q. And she came in on that date to follow
4 Q. Pages 7 to 8. 4 up on her chronic pain secondary to the
5 A. Yes. 5 rheumatoid arthritis? :
6 Q. This is 4/22/03, visit with 6 A. Correct.
7 Mrs. Bulger, is it? 7 Q. And you write "she is in need of
8 A. Yes. 8 refills."
9 Q. And this is a follow-up on her chronic 9 Would that be something she told you?
10 anxiety and depression, is that right? 10 A. Yes.
11 A. Yes, it is. 11 Q. Okay. Then you write "specifically
12 Q. And she's on Prozac at this point in 12 she's quite agitated about the fact that Mass
13 time? 13. Health does not cover her Neurontin, as she has
14 A. Correct. 14 now been out of this for a couple of days."
15 Q. 80 milligrams a day? 15 She indicated to you that she wanted
16 A. Yes. 16 the Neurontin?
17 Q. Okay. At the end of that first 17 A. That's what it would seem from this
18 paragraph she said "she would like to try 18 note.
19 something else. Has tried multiple other meds, 19 Q. Down at the bottom under "P" for plan,
20 including BuSpar, Zoloft, Paxil without good 20 number one is "increase OxyContin to
21 relief. She has never been on Celexa, Lexapro 21 40 milligrams PO BID," right?
22 or Wellbutrin," right? 22 A. Yes.
23 A. Yes. 23 Q. So she's going up on the OxyContin?
24 Q. On the second page of this on the 24 A. Right.
Page 155 Page 157 |
1 "depression and anxiety," you mention or you I Q. And then "2. Will fill out prior
2 write that it was poorly controlled on the high 2 authorization for Neurontin 300 milligram 3 tab
3 dose of Prozac, and that you were going to 3  POBID, which is helping her significantly
4 change her to Lexapro? 4 regarding both her affective disorder and her
5 A. Correct. 5 pain syndrome." :
6 Q. Did that occur? 6 You wrote that?
7 A. Yes. 7 A. Yes.
8 Q. And then in paragraph two, "given the 8 Q. And what was the basis for your
9 fact that she has not done well in terms of her 9 writing that the Neurontin was helping her
10 overall mood and spontaneous crying, will write 10 significantly regarding both her affective
11 anote of prior authorization for Lexapro. 11 disorder and her pain syndrome?
12 Patient is currently displaying no SI or HI. 12 A. It's not stated specifically here, but
13 Follow-up in one month." 13. from the reading of the note, the fact that she
14 What's the SI or HI? 14. had come off the medication and was doing worse}
15 A. Slis suicidal ideation. HI is 15 is an indicator that perhaps it was helping.
16 homicidal ideation. 16 Based on notes that we've already gone through,
17 Q. And she's on Neurontin at this point 17 it looked like she was having positive affects
18 in time, correct? 18 on things that would be considered either :
19 A. Correct. 19 affective symptoms or pain symptoms. :
20 Q. And up above on Page 7, there's the 20 Q. Okay. When you used the phrase
21 authorization for the Lexapro, correct? 21 "affective disorder" in paragraph two here on :
22 A. Yes. 22 this Page 6, what were you referring to
23 Q. Okay. Let's go to Page 6, please. 23 specifically?
24 This is your appointment with Mrs. Bulger on 24 A. That refers to her anxiety and :

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40 (Pages 154 to 157)

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Page 158 Page 160
1 depression. 1 A. Right.
2 Q. Her -- 2 Q. -- 03.
3 A. Anxiety and depression. 3 Taking a look at your records, this is :
4 Q. So it was your view at this point in 4 your last appointment with Mrs. Bulger?
5 time that the Neurontin was affecting both her 5 A. It appears to be.
6 anxiety -- was affecting her anxiety, depression 6 Q. And then after that you refill some -
7 and pain, helping her? 7 medications, but no other appointments?
8 A. Yes. 8 A. That's right.
9 Q. Page 5. On the bottom there, are 9 Q. And specifically if we look at Pages |
10 these some office notes concerning attempts to 10 and 2, you refilled -- you gave her Valium on
11. get approval for Neurontin? 11 August 28 of '03, is that right?
12 A. Correct. 12 A. Yes.
13 Q. And then on the top of five is renewal 13 Q. And there was a switch from Klonopin
14 of Klonopin? 14 to Diazepam? :
15 A. Correct. 15 A. Correct.
16 Q. Right? 16 Q. And there's a note on Zantac on
17 And that's one milligram? 17 August 14th?
18 A. Correct. 18 A. Right.
19 Q. Had she gone up on the Klonopin? 19 Q. And in the middle of Page 2 -- or the
20 A. Yes, she had. 20 top of 2 there's a Zantac prescription?
21 Q. Next page, OxyContin refill on the 21 A. Correct.
22 bottom, on June 16th, is that what that is? 22 Q. And in the middle of 2 there's
23 A. Correct. 23 pre-authorizations for Neurontin and Prilosec? :
24 Q. And then in the middle is Klonopin 24 A. Correct.
Page 159 Page 161
1 refill? 1 Q. Okay. Let's look at your note on your :
2 A. Correct. 2 last meeting with Mrs. Bulger, if we could,
3 Q. Again at one milligram? She's gone 3 please, Pages 2 to 3.
4 up? 4 "S," you write "Susan comes in today
5 A. Right. 5 in follow-up of her routine meds and issues, :
6 Q. And then at the top there's an 6 including: 1. Depression. 2. Joint pain
7 OxyContin refill? 7 secondary to RA and multiple surgical revisions.
8 A. Correct. 8 And 3. New issue of reflux.” :
9 Q. Is that at the higher dosage that you 9 Right?
10 had approved previously? 10 A. Correct.
11 A. Yes. This is from that other note, I] Q. Okay. So she's still suffering from
12. yes. 12 depression and chronic pain?
13 Q. Right. 13 A. Yes.
14 And then this is the Lexapro that you 14 Q. And she's got a new issue; reflux?
15 had prescribed for her not all that long before 15 A. Right.
16 this, right? 16 Q. A gastrointestinal problem?
17 A. Which was, it looks like, also 17 A. Right. :
18 increased. 18 Q. Then you write "regarding her
19 Q. Okay. Let's go to, please, Page 3 on 19 depression, she feels like Lexapro 20 milligram
20 the bottom, this is another Klonopin refill, 20 in combination with Neurontin 300 milligram
21 correct? 21 QHS --" that's? :
22. =A. Correct. 22 ~— A. At bedtime. :
23 Q. And then Pages 2 to 3, your notes on 23 Q. At bedtime.
24 8/11 -- 24 "-- seems to be improving her mood

 

 

 

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41 (Pages 158 to 161)

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Page 186 Page 188
1 A. That's a good question. There were 1 Q. At any time did any pharmaceutical rep
2 many, because we were at that time a residency 2 offer to take you out to dinner?
3 practice, and so I can't tell you exactly how 3 MR. CHAFFIN: Objection.
4 many faculty we had and how many residents at 4 A. Any pharmaceutical rep?
5 the time. 5 BY MR. FINKELSTEIN:
6 Q. When did you graduate medical school? 6 Q. Any pharmaceutical rep.
7 A. Graduate medical school? 7 A. Yes.
8 Q. Mm-hmm. 8 Q. And did you ever go?
9 A. In 1997. 9 A. Not at that type of an invitation, no.
10 Q. When did you complete your residency? 10 Q. Did any pharmaceutical company ever
11 A. 2000. 11 compensate you for attending a symposium?
12 Q. And after you completed your 12 A. Define compensation. :
13 residency, where was your first place of 13 Q. Provide something of monetary value to :
14. employment? 14 you.
15 A. As a faculty member at Beverly 15 A. Yes, yes. Primarily it would be a
16 Hospital Family Practice Residency. 16 dinner at the symposium, but nothing beyond
17 Q. And did there come a time that that 17 that.
18 transitioned to the private practice? 18 Q. Okay. And which pharmaceutical
19 A. That's correct. 19 company?
20 Q. And when was that? 20 A. Thave no idea. I really have no
21 A. That's -- I'm unsure if it was 2002 or 21 idea.
22 2003. 22 Q. Fair enough.
23 Q. While it was Beverly medical 23 Do you know what symposiums?
24 facility -- what's the name of it? 24 A. No. Periodically there are dinners at
Page 187 Page 189
1 A. Family Practice Residency Program. 1 various restaurants in our area, and up until a
2 Q. Beverly Family Practice Residency 2 few years ago we would periodically attend.
3 Program? 3 Q. And at those dinners, what would
4 A. Yes. 4 transpire?
5 Q. While it was the Beverly Family 5 A. Generally there would be a speaker who
6 Practice Residency Program, was there any 6 presented data about something. It was usually
7 prohibition on receiving sales calls from 7 problem-based rather than drug-based, and of :
8 pharmaceutical reps? 8 course, you know, they were sponsored by the
9 A. Yes. We did not receive, during the 9 representative and, of course, would mention the
10 period of being a residency we did not receive 10 drug, but usually pretty fairly with other :
in-office any pharmaceutical reps. 11 medications.
12 Q. Did you receive any outside of the 12 Q. Were there any symposiums, or what
13 office? 13. you're describing these dinners with the
14 A. There were allowed at the hospital. 14 speaker, any of them related to the treatment of
15 Q. And did you personally receive any 15 pain?
16 information from pharmaceutical reps? 16 A. No.
17 A. I'm sure over the years I did, but I 17 Q. Any of them related to psychiatric
18 can't -- not a specific instance I can 18 treatment?
19 recollect. 19 A. No.
20 Q. Do you know if you received any 20 Q. Was Neurontin discussed at any of
information from any pharmaceutical rep related 21 them?
22 to Neurontin? 22 A. Not that I recollect.
A. Other than the incident that I already 23 Q. Do you know who Cynthia McCormick is? 5
24 related, no. 24 ~~ A. No,I donot.

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48 (Pages 186 to 189)

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Page 210 Page 212
1 else? 1 Q. Prior to today, were you aware of the
2 A. Tam not. 2 information that's contained therein?
3 Q. Have you -- do you have any other 3 A. Iwas not.
4 degrees other than in family medicine? 4 Q. Now that you've had an opportunity to
5 A. No, Ido not. 5 read the Information For Health Care
6 Q. Have you ever taken any courses in 6 Professional Suicidality and Anti-Epileptic
7 neuropsychopharmacology? 7 Drugs, when you prescribe an anti-epileptic drug :
8 A. Not beyond medical school training. — 8 for any condition, will you warn your patient of :
9 Q. Have you ever taken any courses in 9 suicidality?
10 behavioral neurology? 10 MR. BELLO: Objection.
11 A. Again, only in the context of medical li MR. CHAFFIN: Objection.
12 school. 12 A. I'm not sure.
13 Q. Are you a member of the American 13 BY MR. FINKELSTEIN:
14 Psychiatric Association? 14 Q. Ifa patient has depression and
15 A. Tam not. 15 anxiety and you add impulsivity to it, does that
16 Q. Are you a member of the American 16 increase the risk of suicide?
17 Neurological Association? 17 MR. CHAFFIN: Objection.
18 A. Iam not. 18 MR. BELLO: Objection.
19 Q. Have you ever taken any post-medical 19 A. I don't have enough knowledge base to
20 schools in neuroanatomy? 20 make that determination.
21 A. No. 21 BY MR. FINKELSTEIN:
22 Q. Have you ever dissected a brain? 22 Q. Are you a suicidologist?
23 A. In medical school. 23 A. No, I am not.
24 Q. You actually dissected the brain? 24 Q. Ifa behavioral neurologist examined
Page 211 Page 213
1 A. Yes. 1 your records, and a psychopharmacologist :
2 Q. Are you a member of the Collegium 2 examined your records and drew conclusions
3 International for Neuropsycho Collegium? 3 related to the effect of the pharmacological :
4 A. No. 4 agents that were prescribed, that it had a
5 MR. CHAFFIN: I bet their meetings are 5 deleterious affect on Miss Bulger's mood, would
6 fun. 6 you disagree?
7 BY MR. FINKELSTEIN: 7 MR. CHAFFIN: Objection.
8 Q. You don't hold yourself out as a 8 MR. BELLO: Objection.
9  pharmacologist? 9 A. Again it's not a simple answer, and I
10 - A. Idonot. 10 don't think I could make that judgment.
11 Q. And have you authored any peer 11 BY MR. FINKELSTEIN:
12 reviewed articles? 12 Q. Okay. Related to Exhibit 6, when the
13 A. No, [have not. 13. document says "patients who were treated for
14 Q. Have you authored any textbooks, 14 epilepsy, psychiatric disorders and other :
15 medical textbooks? 15 conditions were all at increased risk for
16 A. No, [have not. 16 suicidality compared to placebo,” what does that
17 Q. Have you had a chance to read the FDA 17 mean to you as a physician?
18 Information For Health Care Professionals 18 MR. CHAFFIN: Objection. :
19 Suicidality and Anti-Epileptic Drugs marked as 19 A. It means that in the trials, those who
20 Exhibit 6? 20 were given medication were increased in risk :
21 A. Yes, Ihave. 21 throughout the three groups that they looked at
22 Q. And prior to today, had you ever seen 22 compared to placebo, which is a non-medication.
23 that? 23 BY MR. FINKELSTEIN:
24 A. No, [had not. 24 Q. Do you agree that symptoms such as :

 

 

 

 

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54 (Pages 210 to 213)

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Page 222 Page 224

1 BY MR. FINKELSTEIN: 1 Q. Would you want to know, for example, :

2 Q. When I say couldn't cope, couldn't 2 forgive me, that in connection with her review

3 cope such that she was a suicidal candidate, 3 of the new drug application for Neurontin she

4 that were at risk of that? 4 never concluded that the clinical trial data

5 A. No, I don't believe so. 5 affirmatively established or supported the

6 Q. Okay. 6 conclusion Neurontin increases the risk of, or

7 MR. FINKELSTEIN: All right. That's 7 causes, depression or suicidal behavior? :

8 all Ihave. 8 A. Yes.

9 MR. CHAFFIN: Can we take a break for 9 Q. Would you have wanted to know that the
10 about two minutes, I want to copy a document, 10 FDA's scientific judgment in December, 1993 was |
11 please? 11 that there was no reasonable evidence of an
12 THE VIDEOGRAPHER: It's ten minutes 12 association with Neurontin and suicidal behavior :
13. after three. We are off the record. 13 or any psychiatric adverse event?
14 (Whereupon, a recess was taken.) 14 A. Yes.
15 (Whereupon, Crognale Exhibit Number 7 15 Q. Would you have wanted to know that :
16 was marked for identification.) 16 subsequently in connection with the approval of
17 THE VIDEOGRAPHER: We are back on the | 17 Neurontin for a second indication that the FDA
18 record. The time is 3:20. 18 similarly drew no conclusion with respect to an
19 REDIRECT EXAMINATION 19 association between Neurontin and suicidal
20 BY MR. CHAFFIN: 20 behavior?
21. Q. Doctor, Mr. Finkelstein -- 21. =A. Yes.
22 MR. CHAFFIN: Is it Finkelstein or 22 Q. Mr. Finkelstein asked you some
23 Finkelstein? 23 questions about the FDA alert.
24 MR. FINKELSTEIN: Finkelstein. 24 A. Yes. :

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1 BY MR. CHAFFIN: 1 Q. And asked you if you would now start :

2 Q. -- Finkelstein asked you some 2 warning patients on AEDs or anti-epileptic drugs

3 questions about a Cynthia McCormick. 3 about a risk of suicide, and I think you said
4 Do you recall that? 4 you weren't sure.

5 A. Yes, Ido. 5 A. Yes. That's correct.

6 Q. And you'd never heard of her? 6 Q. And is the cause of your uncertainty
7 A. I still don't know who she is. 7 what you read in the FDA alert?

8 Q. You don't know one way or another, 8 A. My cause for uncertainty is that, you
9 sir, what the FDA's internal workings were with 9 know, looking over one document in ten minutes
10 respect to approval of Neurontin for either 10 does not make a decision. And again, I think
11 indication? 11 that, you know, I think it's something that I
12 A. No, I do not. 12 need more information on. I just can't take :
13 Q. But I think at some point in response 13 somebody's else's summary at face value. So --
14 to one of Mr. Finkelstein's questions you 14 Q. Did you understand that the FDA alert
15 indicated that if Ms. McCormick at FDA had 15 was based on pooled data for an entire class of
16 indicated a certain thing, you would have wanted 16 drugs?
17 to know that? 17 A. I did.
18 A. Yes. 18 Q. Would you want to look at the data on
19 Q. Would you have -- would you want to 19 adrug by drug basis?
20 know, Doctor, before you decided one way or 20 A. I think that would be helpful. :

21 another whether to take Dr. McCormick's views 21 Q. And did I just show you some data on a :
22 into account in prescribing Neurontin what her 22 drug by drug basis? :
23 full opinions were on that subject? 23 A. Well, you showed me data about one

24 A. Yeah. 24 drug.

   

 

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